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UN|TED STATES D|STR|CT COURT
EASTERN D|STR|CT OF I\/||CH|GAN
SOUTHERN D|V|S|ON

UN|TED STATES OF A|\/|ER|CA
v.

D-1 B|LLY ARNOLD,
a/K/a “B-|\/|an,” “Berenzo,”
“Ki||a”

D-2 STEVEN ARTHUR JR.,
a/k/a “Steve-O”

D-3 EUGENE F|SHER,
a/k/a “Fist”

D-4 COREY BA|LEY,
a/k/a “Sonny,” “Cocaine
Sonny”

D-5 QU|NCY GRAHA|\/l,
a/K/a' “Dub,” “Q”

D-6 ROBERT BROWN ||
a/k/a “R.O.”

D-7 JERO|V\E GOOCH
_a/k/a “Rome,” “Dada”

D-8 |\/||CHAEL ROGERS
a/k/a “Smoke,” “Ace”

D-9 DERR|CK KENNEDY

' a/k/a “Dip"

D-1O DEVON PATTERSON
a/K/a “Duck,” “Sosa”

D-11 CHR|STOPHER OWENS
a/K/a “Baby O,” “Cee”

D-12 JEFFERY ADA|\/|S
a/k/a “Brick,” “Product”

D-13 ARLAND|S SHY ||
a/k/a “Grymee,” “V|L”

D-14 ANTHONY LOVEJOY
a/k/a “PT”

NO. 15-20652
HON. GEORGE CARA|\/| STEEH

18 u.S.C. § 1982(<1);
18 u.S.C. § 1959(3)(1);
18 u.S.C. § 1959(3)(3);
18 U.S.C. § 1959(3)(5);
18 u.S.C. § 924(8);

18 u.S.c. § 922(9)(1);
18 u.S.C. § 2

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D-15 D|ONDRE F|TZPATR|CK
a/k/a “D-Nice”

D-16 JAl\/|ES ROB|NSON
a/k/a “Wick”

D-17 DONELL HENDR|X
a/k/a “Jig”

D-,18 |\/|ATLEAH SCOTT
a/k/a “Thang |\/|”

D-19 KE|THON PORTER
a/k/a “KP”_

D-ZO JEFFAUN ADA|\/|S
a/k/a “J-Rock”

D-21 I\/|ARTEZ H|CKS
a/k/a “Rayfu|”

/

 

SlXTH SUPERSED|NG lNDlCTMENT

THE GRAND JURY CHARGES:

COUNT ONE
18 U.S.C. 1962(d) - RlCO Conspiracy

D-1 B|LLY ARNOLD

D-2 STEVEN ARTHUR JR.
D-3 EUGENE F|SHER

\D-4 COREY BA|LEY

D-5 QU|NCY GRAHA|\/|

D-6 ROBERT BROWN

D-7 JEROI\/|E GOOCH

D-8 |\/IlCHAEL ROGERS

D-9 DERR|CK KENNEDY
D-1O DEVON PATTERSON
D-11 CHR|STOPHER OWENS
D-12 JEFFERY ADA|\/|S

D-13 ARLAND|S SHY ||

D-14 ANTHONY LOVEJOY
D-15 D|ONDRE F|TZPATR|CK

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D-16 JA|\/IES ROB|NSON
D-17 DONELL HENDR|X
D-19 KE|THON PORTER
D-20 JEFFAUN ADA|\/|S
D-21 l\/lARTEZ HlCKS

The Enterprise

1. The Seven l\/lile Bloods, commonly referred to as, and hereinafter
referred to as, “Sl\/lB” is a street gang that operates primarily on the east side
of Detroit, Eastern District of l\/lichigan, specifically the area in and around
Gratiot Avenue to the West, Kelly Road to the east, Eight l\/lile to the north,
and Seven l\/lile to the south. Sl\/lB members have claimed this area as their
territory and refer to it as the “Red Zone.” The main streets in the area that
the Sl\/lB conduct many of their illegal narcotics trafficking are Lappin, Coram,
Novara, Liberal, l\/lanning, and Tacoma. This particular area of Detroit’s zip
code in 48205, Which Sl\/lB members change into “4-8-2-0-Die” in many of
their rap lyrics. '

2. The Sl\/lB consists of the Sl\/lB, older individuals involved in the
gang, and Hobsquad, a distinct set affiliated With the Sl\/lB. lnitially, the
Hobsquad Was known as Sl\/IB Juniors and consisted of younger, school-
aged minors from this neighborhood. The Sl\/lB Juniors changed their name
to Hobsquad in honor of Sl\/lB member, lhab l\/laslamani, Who Was convicted

of the homicide of l\/latthew Landry in 2010.

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3. Sl\/lB and Hobsquad members utilize a variety of unifying marks,
manners, and identifiers, including “gang signs,” clothing, and tattoos that
are specific to the organization. A common symbol is the five-pointed star,
a hand sign with all five fingers, or a crown with five points which represents
the fact that the Sl\/lB belong to the “People Nation,” an alliance of various
street gangs including the Bloods, Vice Lords, Latin Kings, and Latin Counts.

- This alliance is in direct conflict with'the “Folk Nation,” an alliance of various
street gangs including the Gangster Disciples and the Crips. The Sl\/lB also
identify themselves with the number “55” and sometimes refer to themselves
as “55 Crew” or “55 Grinch.” Sl\/lB members will also identify themselves
with the number “762” which stands for the numbers on a keypad that a
person would push to type out Sl\/lB and “19 13 2” which represents the
numerical order in the alphabet for Sl\/lB. l\/lembers will often tattoo
themselves with these gang symbols. l\/lany of the Sl\/lB symbols, clothing,
and sayings attempt to differentiate themselves from or disrespect their
rivals. The Sl\/lB colors are predominately red which the gang members
signify by wearing red clothing, hats, and bandanas.

4. Sl\/IB members and associates regularly use social networking
websites such as Facebook', lnstagram, Twitter, and YouTube, to post

photographs, videos, and statements that identify and highlight their

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affiliation with the enterprise, as well as their gang-related accomplishments,
thereby glorifying and perpetuating Sl\/lB. Sl\/lB is also heavily involved in
the rap music scene._ Sl\/lB members regularly post videos of their rap music
and discuss their gang affiliation and accomplishments via rap. Sl\/lB has a
close relationship with “Hard Work Entertainment.”

5. The enterprise makes its money predominately through the sale
and distribution of controlled substances, including cocaine, heroin,
marijuana, codeine promethazine, and various prescription pills. Sl\/lB
members sell these controlled substances within the “Red Zone,” outside of
vacant houses known as “trap houses.” Within the time frame of the charged
enterprise, higher-ranking Sl\/IB members would often sell on the same block
of l\/lanning Street sharing workers and firearms to distribute and protect their
narcotics. Sl\/lB members also travel to West Virginia, Ohio, Kentucky, and
other states to sell controlled substances.

6. The Sl\/lB is currently in an active gang war with an_alliance of
other gangs operating on Detroit’s east side including, but not limited to:
Hustle Boys, East Warren, Six l\/lile Chedda Ave., Gutta Boys, l\/laxout 220,
BossHogs,' and Hustle Hard. While the rivalries between these gangs has
existed for some time, the murder of D.P. on July14, 2014 by Sl\/lB members

exacerbated the tension between the gangs and led to the alliance of the

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other east side gangs against the Sl\/|B. Since July 2014, these rivals are
violently attacking one another and have posted respective “hit lists” on
social media. The shooting of R.C. on l\/lay 1, 2015, as further described in
Counts Ten through Twelve, was committed on the same day that Sl\/lB
enterprise member A was killed and was a vengence shooting in this gang
war.
The Enterprise

7. At all times relevant to this Count of the Sixth Superseding
lndictment, in the Eastern District of l\/lichigan, and elsewhere, the Sl\/lB,
including its leadership, members, and associates constituted an enterprise,
as defined by Title 18, United States Code, Section' 1961(4), that is, a group
of individuals associated in fact, that was engaged in, and the activities of
which affected, interstate and foreign commerce. The enterprise constituted
an ongoing organization whose members functioned as a continuing unit for
a common purpose of achieving the objectives of the enterprise. At various
times relevant to this lndictment, B|LLY ARNOLD, STEVEN ARTHUR JR.,
EUGENE FlSHER, COREY BA|LEY, QU|NCY GRAHA|\/l, ROBERT
BROWN, JEROl\/lE GOOCH, l\/llCHAEL ROGERS, DERR|CK KENNEDY,
DEVON PATTERSON, CHR|STOPHER OWENS, JEFFERY ADAl\/lS,

ARLAND|S SHY ||, ANTHONY LOVEJOY, D|ONDRE F|TZPATR|CK,

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JAl\/lES ROBINSON, DONELL HENDR|X, KE|THON PORTER, JEFFAUN
ADAl\/lS, l\/lARTEZ HlCKS, and others, were members and associates of the
Seven l\/lile Bloods.
Purposes of the Enterprise
8. The purposes of the enterprise included the following:

a. l\/laximizing profits for enterprise members from a variety of
illegal activity;

b. Preserving and protecting the power, territory, and profits
of the enterprise through the use of intimidation and violence, including
assaults and threats of violence;

c. Promoting and enhancing the enterprise and its members’
and associates’ activities;

d. Keeping victims in fear of the enterprise and in fear of its
members and associates through threats of violence and violence.

l\/lanner and l\/leans of the Enterprise
9. The manner and means used by the enterprise to further the
goals of the enterprise and achieve its purposes included, but was not limited
to, the following:
a. l\/lembers of the enterprise and their associates committed,

conspired, attempted and threatened to commit acts of violence including

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acts involving murder and assaults with dangerous weapons to protect and
expand the enterprise’s criminal operations.

b. l\/lembers of the enterprise and their associates promoted
a climate of fear through violence and threats of violence.

c. l\/lembers of the enterprise and their associates used and
threatened to use physical violence against various individuals.

d. l\/lembers of`the enterprise and their associates distributed
controlled substances and transported and distributed proceeds from the

' sale of controlled substances
The Racketeerind Conspiracv

10. Beginning on a date unknown, but starting no later than the year 2003,
and continuing to the date of this Sixth Superseding lndictment, in the
Eastern District of l\/lichigan and elsewhere,

B|LLY ARNOLD
STE_\/EN ARTHUR JR.
EUGENE F|SHER
COREY BA|LEY
QU|NCY GRAHA|\/|
ROBERT BROWN
JEROl\/lE GOOCH
I\/l|CHAEL ROGERS
DERRICK KENNEDY
DEVON PATTERSON
CHR|STOPHER OWENS
JEFFERY ADA|\/|S
ARLAND|S SHY ||
ANTHONY LOVEJGY

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DlONDRE FlTZPATR|CK
JAl\/lES ROBlNSON
DONELL' HENDR|X
KElTHON PORTER
JEFFAUN ADAl\/lS
l\/lARTEZ HlCKS
and other persons not named in this Sixth Superseding lndictment, being
` persons associated with the Sl\/lB, which enterprise is described more fully
in Paragraphs 1 through 9 above, which was engaged in, and the activities
of which affected, interstate and foreign commerce, did knowingly, willfully
and unlawfully combine, conspire, confederate, and agree with one another
to violate Title 18, United States Code, Section 1962(0); that is, to conduct
and participate, directly and indirectly, in the conduct of the affairs of said
enterprise through a pattern of racketeering activity, as defined in Title 18,
United States Code, Section 1961(1) and (5), consisting of multiple:
a. Threats and acts involving murder, in violation of l\/lichigan
Compiled Laws, Secti'ons 750.316(1), 750.83, 750.157a(a), and 767.39;
b. Threats and acts involving robbery, in violation of l\/lichigan
Compiled Laws, Sections 750.529, 750.157a(a), 750.92, and 767.39;'and
c. Offenses involving conspiracy to distribute and distribution

of controlled substances in violation of Title 21, United States Code, Sections

841 and 846;

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d. Acts indictable under Title 18, United States Code, Section
1512 (witness intimidation).

11. lt wash part of the conspiracy that defendants, B|LLY ARNOLD,
STEVEN ARTHUR JR., EUGENE FlSHER, COREY BA|LEY, QU|NCY
GRAHAl\/l, ROBERT BROWN, JEROl\/lE GOOCH, l\/l|CHAEL ROGERS,
DERRlCK KENNEDY, DEVON PATTERSON, CHR|STOPHER OWENS,
JEFFERY ADAl\/lS, ARLAND|S SHY ll, ANTHONY LOVEJOY, DlONDRE v
FlTZPATR|CK, JAl\/lES ROBlNSON, DONELL HENDR|X, KE|THON
PORTER, JEFFAUN ADAl\/lS, l\/lARTEZ HlCKS, and others, known and
unknown to the grand jury, agreed that a conspirator would commit at least
two acts of racketeering in the conduct of the affairs of the enterprise.

Overt Acts

ln furtherance of the conspiracy, and to affect the object and purposes
thereof, the defendants, and others known and unknown to the grand jury,
committed various overt acts, including but not limited to the following:

(1) On or about August 15, 2016, DERRlCK KENNEDY was
arrested with 265 oxycodone pills, $2,151, and a phone in possession in

Quincy, West Virginia.

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(2) On or about July 13, 2016, JAl\/lES ROB|NSON was present at
15715 Coram Street, Detroit in a residence where six firearms,
methamphetamine, Xanax, cocaine, and marijuana were found.

(3) On or about December 15, 2015, a rap video entitled “HardWork
Jig ft Cocaine Sonny - OG” was published on YouTube.

(4) On or about November 10, 2015, JEFFERY ADAl\/lS posted on
his Facebook status, “Riding around getin my up arm strong from liftin techs
up pussy nigga throw you sets up l dare a nigga disrespect us REDZONE
data da Bhive no we not tryna 5ease fire gripin tools like sum new pliers
steaming niggaz kus we keep irons #GANG.”

(5) On or about November 3, 2015, ROBERT BROWN posted on
his Facebook status, “#Zonelife” and “#l\/lanningboyz 100 years.”

(6) On or about October 14, -2015, ROBERT BROl/VN posted a
picture of himself on Facebook flashing a “55” gang sign with the title, “Rip
Whites Rip Block.”

(7) On or about October 2, 2015, JEFFERY ADAl\/lS posted on his ,
Facebook status that a certain Sl\/lB enterprise member was a “federal

informant.”

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(8) On or about October2, 2015, EUGENE FlSHER posted a picture
on his Facebook status with the comment, “The Feds just took my ar that my
bro holding.”

(9) On or about September 28, 2015, JEFFERY ADAl\/lS posted on
his Facebook status, “Bro ah b home g55d bond money on de*k #Free`
DaBadGuyz.”

(10) On or about September 26, 2015, B|LLY ARNOLD and STEVEN
ARTHUR JR. were arrested in possession of a Bushmaster .223 caliber rifle.

(11) On or about September 26, 2015, an unindicted Sl\/lB enterprise
member D was arrested in possession of a P89 Ruger 9mm handgun in a
car being driven by ARLAND|S SHY and which included JEFFAUN ADAl\/lS
and another Sl\/lB enterprise member,

(12) On or about September 26, 2015, B|LLY ARNOLD texted
EUGENE FlSHER that “l need to get in yo crib and grab my hook ups.”

(13) On or about July 27, 2015, JEFFERY ADAl\/lS posted on his
Facebook status, “lts 10 different gangs in 1 goup an yall still kant fuk wit us
#42k #BADGUYZ 19 13 2.” 8

(14) On or about July 5, 2015, QU|NCY`GRAHAl\/l and DlONDRE

FlTZPATRlCK were found in Harper Woods, l\/lichigan passed out in a car

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with a loaded .40 caliber Sm'ith & Wesson handgun between GRAHAl\/l’s
legs. t

(.15) On or about June 18, 2015, B|LLY ARNOLD, JAl\/lES
ROB|NSON, KE|THON PORTER, and others were at 20075 Westphalia
Street, Detroit, l\/lichigan, a location where police found cocaine, marijuana,
53 ecstasy pills, two digital scales, empty ziplock bags, cellular phones, and
ammunition.

(16) On or about June 7, 2015, D.C. and A.B. were shot in Roseville,
l\/lichigan by B|LLY ARNOLD and JAl\/IES ROB|NSON.

(17) On or about l\/lay 26, 2015, B|LLY ARNOLD and DERR|CK
KENNEDY sent numerous text messages to each other in reference to a
narcotics transaction.

(18) On or about l\/lay 15, 2015, B|LLY ARNOLD and DERR|CK
KENNEDY sent numerous text messages to each other in reference to a
narcotics transaction.

(19) On or about l\/lay 10, 2015, B|LLY ARNOLD sent a number of
text messages to QU|NCY GRAHAl\/l, DlONDRE FlTZPATRlCK, and

DERR|CK KENNEDY in reference to posting a rap video online.

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(20) On or about l\/lay 10, 2015, in Detroit, l\/lichigan, B|LLY ARNOLD,
ROBERT BROWN, and others shot over sixty rounds of ammunition at a car
containing D.P., D.C., and J.G.

(21) On or about l\/lay 9, 2015, B|LLY ARNOLD sent a text message
to ROBERT BROWN that stated, “l\/lan l just hope you strap l’m tired of
loosing niggaz because niggaz don’t be strapped and in they own worlds real
shit dawg,” to which ROBERT BROWN replied, “Dbow do.”

(22)` On or about l\/lay 9, 2015, B|LLY ARNOLD sent a text message
to DERR|CK KENNEDY that stated, “Dawg l aint trying to hear shit dawg l
gotta nigga gone sell me a ar for 7 and it’s a nigga now wit a choppa too we
getting both igot to get back down the way get my shot dip don’t play wit me
right now man l know we always talking shit but this block and l’m ready to
die right now.” m

(23) On or about l\/lay 9, 2015, B|LLY ARNOLD and DERR|CK
KENNEDY sent numerous text messages to each other in reference to a
narcotics transaction until they finally agreed to meet at EUGENE FlSHER’s
house. 1 v

(24) On or about l\/lay 8, 2015, B|LLY ARNOLD sent l\/lATLEAH

SCOTT a text message that stated, “U should here bout it.”

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(25) On or about l\/lay 8, 2015, D.R.-1 was killed, l\/l.W. was shot in
the neck, hand, and chest, and D.R.-2 was shot in the head by B|LLY
ARNOLD, KEITHON PORTER, and ARLAND|S SHY in Detroit, l\/lichigan.

(26) On or about l\/lay 2, 2015, B|LLY ARNOLD sent a text message
-to l\/lATLEAH SCOTT that stated, “l can’t talk to u sis l don’t even care for
living that’s y everything u heard about dropping after we lost him l was on it
and l’m not stopping to everybody dies everybody girls niggaz it don’t matter
lt’s ova u that wasn’t nothing yesterday it’s many more l’ve yall just know l
got yall forever.”

(27)' On or about l\/lay 1,. 2015, B|LLY ARNOLD sent text messages
to ROBERT BROWN that stated, “l got in a shoot out last night dub left me”
and “A bullet pierce my hoodie.”

(28) On or about l\/lay 1, 2015, R.C. was shot multiple times by B|LLY
ARNOLD and KE|THON PORTER in Detroit, l\/lichigan.

(29) On or about April 11, 2015, ROBERT BROWN and other SMB
enterprise members assaulted D.T. and took D.T.’s shoes, cell phone, and
other property. l

(30) On or about April 1, 2015, ROBERT BROWN posted a picture of
marijuana on Facebook with the title, “Face time l got hafe when y’all ready

FB friends and family.”

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(31) On or about l\/larch 3, 2015, ROBERT BROWN posted on his
Facebook status, “ON THE 5 l LOVE ALL MY NlGGAS l WlLL RlDE AND
DlE 4 ALL MY NlGGAS TH|S lS TO ALL l\/lY NlGGAS WE AN|T LOS|NG
NO l\/lORE BROTHERS EVERY BODY SQUAD lN COl\/ll\/IENT FOR AKA
WH|TE BGY JASON RlH 5 20 YEARS BLOOD #ZONEL|FE.”

(32) On or about l\/larch 2, 2015, JEFFERY ADAl\/lS posted on his
Facebook status, “ll\/l WAR READY AT ALL Tll\/lE5 #000 #Gang.”

(33) On or about February 27, 2015, JEFFERY ADAl\/lS posted on his
Facebook status, “FULL KOURT PRE55 ON DA 5TREET5 lF U NOT #H5
#55 #000 OR #GANG 5HlT DROP|N.”

(34) On or about February 17, 2015, EUGENE FlSHER posted on his
Facebook status, “love 2 my partners on lock down! Rip 2 my niggas thats
no longer around! Yall my strenth that s y l’m so strong, if it was’ nt 4 yall l’
d probably been long gone! 18-3 Sl\/lB RED ZONE KlNGZ”; to which Sl\/lB
enterprise member E commented, “RCs bitch we still popin Bitch 7mile””’!!!!!!”

(35) On or about January 30, 2015, EUGENE FlSHER posted on his
Facebook status, “l\/ly nigga BLOCK beat his case 2day! l hit the snitching
ass lil nigga in his mouth and almost went 2 jail at l'-`rank l\/lurphy. The lil
nigga was still trying 2 snitch after l hit him in his shit, some niggas never

learn! Guess he got it hones from his snitching ass.”

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(36) On or about January 23, 2015, JEFFERY ADAl\/lS posted a
picture of himself and JEFFUAN ADAl\/lS each holding a gun on Facebook
with the following title “Buck Buck red dot a nigga #Gang.”

(37) On or about January 10, 2015, JEFFERY ADA|\/lS`posted on his
Facebook status, “GREEN LlT.E A NlGGA.”

(38) On or about December 28, 2014, JEFFERY ADAl\/lS posted a
picture of four handguns on Facebook with the following title “42k we killin
everything dey stand foe.”

(39) On or about November 28, 2014, JEFFERY ADAl\/lS posted a
picture of controlled substances on Facebook with the following title “GG’z
on deck.”

(40) On or about September 22, 2014, JEROl\/lE GOOCH and
QU|NCY GRAHAl\/l were found in an apartment in Charleston, West Virginia
that contained approximately 330 Oxycontin pills,'a loaded .45 caliber Glock
handgun, and U.S.,currency.

(41) On or about August 28, 2014, JEROl\/lE GOOCH was arrested
with $1,680 in his possession in Charleston, West Virginia.

(42) On or about July 28,`2014, a rap album entitled “Betrayal: Stop

Bleekin” was posted on YouTube by ROBERT BROWN, under the name of

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“RO Da Great,” with rap songs performed by BROWN, BA|LEY, and
HENDR|X.

(43) On or about July 22, 2014, COREY BA|LEY was arrested in the
area of 15621 Novara Street, Detroit, l\/lichigan with a loaded .40 caliber
Smith & Wesson handgun and a loaded SKS rifle.

(44) On or about July 14, 2014, in Detroit, l\/lichigan, B|LLY ARNOLD
and COREY BA|LEY shot at a car containing D.P., l\/l.D.-1, l\/l.D.-2, and C.C.

(45) On or about July 14, 2014, D.P. was killed and l\/l.D.-1 was shot .
in the chest by B|LLY ARNOLD and COREY BA|LEY in Detroit, l\/lichigan.

(46) On or about or about June 15, 2014, ROBERT BROWN posted
a picture of himselfand another Sl\/lB enterprise memberflashing a “55” gang
sign on Facebook.

(47) On or about l\/larch 21, 2014, JEFFERY ADAl\/lS posted on his
Facebook status, “l got 4oz left.”

(48) On or about February 21, 2014, a rap video entitled “COCA|NE
SONNY FT BERENZO & BLOCK - l\/lURDA" was published on YouTube.

(49) On or about November 22, 2013, a rap video entitled “Cocaine
Sonny ft. HardWork Jig & Berenzo -“ l Hust” was published on YouTube.

(50) On or about November 7, 2013, a rap video entitled “Cocaine

v Sonny ft. Berenzo - 4820DlE” was published on YouTube.

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(51) On or about September 16, 2013, JEFFERY ADAl\/lS posted on
his Facebook status, “lts seem like everybody Sl\/lB or HOBSQUAD beef wit
niggaz always tellin da police (hustleboyz) been snitchin (220) snitchin got
paper work on dem (maxout) snitchin on da news l guess Sl\/lB da last real
niggaz left #SQUAD.”

(52) [INTENTlONALLY LEFT BLANK]

(53) On or about July 24, 2013, JEROl\/lE GOOCH was arrested with
$3,127, ninety oxycodone pills, and a loaded .45 caliber handgun in Detroit,
l\/lichigan.

(54) On or about l\/lay 7, 2013, an unindicted Sl\/lB enterprise member
posted on JEFFERY ADAl\/lS Facebook account, “Deyjust bossed up l been
doing my thang l earned my stripes out here im like tuff n da game eastside
yung niggas da mission to get paid we still wype Niggas out da chedda n
wrng gangs 7mile blood or should l go by da codename.”

(55) On or about l\/larch 8, 2013, a_ rap video entitled “HardWork Jig -
Welcome To HOB City intro” was published on YouTube.

(56) On or about February 23, 2013, DlONDRE F|TZPATR|CK, Sl\/lB
enterprise member A, Sl\/lB enterprise member D, and other Sl\/lB enterprise

~ members and associates, were stopped in a white Bl\/lW limousine from

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which four loaded firearms, one unloaded'firearm, and U.S. currency was
recovered.`

(57) -On or about December 30, 2012, JEFFERY ADAl\/lS posted a
picture of himself identifying himself as “Sl\/lB KlNG Product" with the
following title “#Sl\/lB so its fuck niggaz STRSDROP.”

(58) On or about October 23, 2012, JEFFERY ADAl\/lS posted on his
Facebook status, “Public Service Announcement!!! S.l\/l.B. we dont fuck wit
teameast , new skool , hustlebumz , 220 , we not cool its on site when l c
niggaz we put in 2 much work 2 let da streetz down its not beef its personal
so nigga better strap dey seat beltz on an hope dey have a safe ride .....
STRSDROP.”

l(59) On or about October 22, 2012, JEFFERY ADAl\/lS posted on his
Facebook status, “Hmu... l got 64 lines of purple ACTAV|S wit da seal not
none of dat stepd on water down shit team eastside b talkin about.....
STRBDROP.”

(60) On or about September 4, 2012, QU|NCY GRAHAl\/l was found
in Dunbar, West Virginia in an apartment where approximately $11,335 was
found under the kitchen sink and an additional $4,760 was found in a black

duffel bag in a bedroom.

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(61) On or about August 18, 2012, COREY BA|LEY was arrested at
14711 Tacoma Street, Detroit, l\/lichigan with cocaine base (crack cocaine)
and heroin.

(62) On or about August 8, 2012, a rap video entitled “HardWorkJig 1
HWE Shout to Smoke” was posted on YouTube.

(63) On or about l\/lay 12, 2012, JEROl\/lE GOOCH'returned a rental
car to Hertz Rental Car in Charleston, West Virginia.

(64) On or about l\/larch 12, 2012, JEFFERY ADAl\/lS posted on his
Facebook status, “Had 100 line of ACTAV|S dat shit almost gone l think its
like 56 left hmu dey goin fast tell peezy we gone match him 16’s bum ass
nigga Sl\/lB #LEANTEAl\/l ..... STRBDROP.”

(65) On or about February 6, 2012, COREY BA|LEY was arrested in

' Charleston, West Virginia with approximately $2,930 and 53 oxymorphone
pills.

(66) On or about February 8, 2012, COREY BA|LEY provided false
identification to law enforcement in Charleston, West Virginia.

(67) On or about September 9, 2011, EUGENE FlSHER was arrested

with cocaine and marijuana in front of 15864 l\/lanning, Detroit, l\/lichigan.

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(68) On or about January 20, 2011, DEVON PATTERSON and others
were found in an apartment in Dunbar, West Virginia with approximately 288
oxymorphone pills, a firearm, and U.S. currency.

(69) On or about October 11, 2010, l\/llCHAEL ROGERS, DEVON
PATTERSON, and others were found at 14524 l\/lanning Street, Detroit,
l\/lichigan with marijuana and U.S. currency.

(70) On or about August `25, 2010, l\/llCHAEL ROGERS and
CHRlSTOPHER OWENS were together in Charleston, West Virginia.

(71) On or about November 6, 2009, COREY BA|LEY was arrested
in Charleston, West Virginia after tossing two bags of marijuana,
approximately 53 Xanax pills, and cocaine to the ground.

(72) On or about November 6, 2009, COREY BA|LEY provided false
identification to law enforcement in Charleston, West Virginia.

(73) On or about October 27, 2009, COREY BA|LEY was in
Charleston, West Virginia with Sl\/lB enterprise member A.

(74) On or about October 27, 2009,.COREY BA|LEY provided false
identification to law enforcement in Charleston, West Virginia.

(75) On or about October 21, 2009, `R.C.-1 was shot and killed and

R.C.-2 was shot in the chest by COREY BA|LEY and another.

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(76) On or about October 13, 2009, JAl\/lES ROB_|NSON was present
at 14475 Lappin Street, Detroit, l\/lichigan, a location where police found
twenty ziplock bags of marijuana, a digital scale, packaging materials, and
$666.

(77) On or about l\/lay 15, 2009, Sl\/lB enterprise member C was
arrested in Charleston, West Virginia.

(78) On or about April 2, 2009, ARLAND|S SHY was arrested with
marijuana and Oxycontin pills in Charleston, West Virginia.

(79) On or about l\/larch 4, 2009, ROBERT BROWN and Sl\/lB
enterprise member C were together in Charleston, West Virginia.

(80) On or about January 30, 2009, ROBERT BROWN, JEFFREY
ADAl\/lS, and Sl\/lB enterprise member C were together in Charleston, West
Virginia.

(81) On or about January 30, 2009, ROBERT BROWN had $3,164
and two Greyhound bus tickets from Detroit, l\/lichigan to Charleston, West
Virginia in his possession.

(82) Gn or about January 30, 2009,, JEFFREY ADAl\/lS had
marijuana, baggies of cocaine base (crack cocaine), and U.S. currency in his

possession in Charleston, West Virginia.

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(83) On or about January 16, 2009, Sl\/lB enterprise member C and
ARLAND|S SHY were found in an apartment in Charleston, West Virginia
with drug packaging, marijuana, and U.S. currency.

(84) On or about December 10, 2008, ROBERT BRGWN, JEFFERY
ADAl\/lS, STEVEN ARTHUR, JR., and others were found at 14110 Eastburn
Street, Detroit, l\/lichigan with marijuana, a handgun, and U.S. currency.

(85) On or about October 30, 2008, Sl\/lB enterprise member C was
in Charleston, West Virginia.

(86) On or about July 29, 2008, ARLAND|S SHY and other Sl\/lB
enterprise members or associates were found\in the area of Tacoma and
Queen Streets, Detroit, l\/lichigan with heroin, cocaine base (crack cocaine),
and U.S. currency.

(87) On or about April 26, 2008, QU|NCY GRAHAl\/l, STEVEN
ARTHUR, JR., and Sl\/lB enterprise member E were found at 14164 l\/lanning
Street, Detroit, l\/lichigan with heroin, cocaine, marijuana, a digital scale,
packaging material, and U.S. currency.

(88) On or about November 28, 2007, DlONDRE FlTZPATR|CK,
JEFFAUN ADA|V|S, and other Sl\/lB enterprise members and associates

were found in a vacant house at 14754 l\/lanning Street, Detroit, l\/lichigan

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with cocaine, marijuana, packaging materials, a digital scale, and U.S.
currency.

(89) On or about November 4, 2007, DlONDRE FlTZPATRlCK was
found in front of 14781 l\/lanning Street, Detroit, l\/lichigan with marijuana.

(90) On or about October 15, 2007, l\/llCHAEL ROGERS and others
were found in front of 14782 l\/lanning Street, Detroit l\/lichigan with packaging
material and a digital scale.

(91) On or about September 27, 2007, ANTHONY LOVEJOY,
JEFFERY ADAl\/lS, DlONDRE FlTZPATR|CK, and JEFFAUN ADAl\/lS were
found in a vacant house at 14754 l\/lanning Street, Detroit, l\/lichigan with
marijuana, packaging materials, a digital scale, and U.S. currency.

(92) On or about September 19, 2007, JAl\/lES ROB|NSON was
arrested near 15895 Novara Street, Detroit with a firearm.

(93) On or about September 5, 2007, JEFFERY ADAl\/IS and Sl\/lB
enterprise C were found together at 14815 l\/lanning Street, Detroit, l\/lichigan
with marijuana, cocaine, and U.S. currency.

(94) On or about August 30, 2007, COREY BA|LEY was arrested at

14560 l\/lanning Street, Detroit, l\/lichigan with cocaine base (crack cocaine).

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(95) On or about April 13, 2007, COREY BA|LEY was arrested at
14177 Collingham Street, Detroit, l\/lichigan with cocaine base (crack
cocaine), marijuana, and a shotgun.

(96) On or about December 4, 2006, QU|NCY GRAHAl\/l, DEVON
PATTERSON, DlONDRE FlTZPATR|CK, and others were found at 14791
l\/lanning Street, Detroit, l\/lichigan, with heroin, marijuana, and U.S. currency.

(97) On or about June 7, 2006, C.l\/l. was shot and killed by ROBERT
BROWN.

(98) On or about l\/lay 31, 2006, QU|NCY GRAHAl\/l, ROBERT
BROWN, and EUGENE FlSHER were together at 14791 l\/lanning, Detroit,
l\/lichigan.

(99) On or about l\/lay 10, 2006, Sl\/lB enterprise member B
possessed 1,236 grams of marijuana and a 9 mm Hi-Point handgun in
Charleston, West Virginia.

(100)On or about l\/larch 31, 2006, COREY BA|LEY and other
unidentified Sl\/lB enterprise members and associates made threats to the
residents of 14717 Tacoma Street, Detroit, l\/lichigan.

(101)On or about December 3, 2005, CHR|STOPHER OWENS,
ANTHONY LOVEJOY, and others were found at 14790 Liberal Street,

Detroit, l\/lichigan with cocaine and U.S. currency.

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(102)On or about l\/lay 5, 2005, DEVON PA.TTERSON,( COREY
BA|LEY, ANTHONY LOVEJOY, and others were found at 14518 l\/lanning
Street, Detroit, l\/lichigan with marijuana, cocaine, packaging material, and
U.S. currency.

(103)On or about December 1, 2004, ANTHONY LOVEJOY and
COREY BA|LEY were found together at 14787 Tacoma Street, Detroit,
l\/lichigan with cocaine base (crack cocaine), packaging, and U.S. currency.

(104) On or about July 23, 2004, COREY BA|LEY was arrested near
14501 Gratiot Avenue, Detroit, l\/lichigan with marijuana.

(105)On or about September 9, 2003, DEVON PATTERSON,
ROBERT BROWN, ANTHONY LOVEJOY, and others were found in the
vicinity of l\/lanning and l\/lonarch Streets, Detroit, l\/lichigan with cocaine,
marijuana, and U.S. currency.

(106) On or about April 19, 2011, STEVEN ARTHUR JR. and
l\/lARTEZ HlCKS were found in a hotel room in Charleston, West Virginia,
with a quantity of marijuana, prescription pills, and U.S. currency.

(107) On or about April 19, 2011, l\/lARTEZ HlCKS provided false
identification to law enforcement in Charleston, West Virginia.

(108) On or about July 30, 2012, l\/lARTEZ HlCKS and STEVEN

ARTHUR JR were present in Charleston, West Virginia.

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(109) On or about July 30, 2012, l\/lARTEZ HlCKS provided false
identification to law enforcement in Charleston, West Virginia.

(110) On or about October 5, 2012, l\/lARTEZ HlCKS sold to another
individual in Charleston, West Virginia a quantity of Oxycodone pills.

(111) On or about December 4, 2012, l\/lARTEZ HlCKS was arrested
with enterprise member F, and two other individuals inside of 14486
l\/laddelein Street, Detroit, l\/lichigan, with a quantity of marijuana, and U.S.
currency.

(112) On or about l\/larch 9, 2013, l\/lARTEZ HlCKS was found in a
car in the vicinity of Rex and East State Fair Streets, Detroit l\/lichigan, with
a loaded firearm.

(113) On or about l\/larch 9, 2013, l\/lARTEZ HlCKS provided false
identification to law enforcement in Detroit, l\/lichigan.

(114) On or about February 18, 2016, l\/lARTEZ HlCKS posted to his
Facebook account a picture depicting him and QU|NCY GRAHAl\/l holding
U.S. currency.

(115) On or about July 1, 2016, a picture was posted onto another
enterprise member’s Facebook account depicting JEFFAUN ADAl\/lS

making a gang sign associated with Sl\/lB.

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(116) On or about July 8, 2016, l\/lARTEZ HlCKS was present with '
DONNELL HENDR|X, enterprise member F, other Sl\/lB enterprise
members, and other individuals in the vicinity of 16121 l\/lanning Street,
Detroit, l\/lichigan.

(117) On or about l\/lay 17, 2017, l\/lARTEZ HlCKS was present with
another Sl\/lB enterprise member'in the vicinity of 14800 Tacoma Street,

' Detroit, l\/lichigan.

(118) On or about September 1, 2017, JEFFAUN ADAl\/lS posted to
his Facebook account, “l can’t believe this rat ass nigga Steveo man they-
found the weak link.”

Notice of Acts with Enhanced Sentencinq

1. On or about June 7, 2006, in the Eastern District of l\/lichigan,

enterprise'member ROBERT BROWN did commit an act involving

murder, that is, murdering C.l\/l., perpetrated by means of lying in wait,
or any other willful, deliberate, and premeditated killing, all in violation

of l\/lichigan Compiled Laws, Sections 750.316(1).

2. On or about October21, 2009, in the Eastern District of l\/lichigan,

enterprise member COREY BA|LEY, aided and abetted by others

known and unknown to the grand jury, did commit an act involving

murder, that is, murdering R.C.-1, perpetrated by means of lying in

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wait, or any other willful, deliberate, and premeditated killing, all in
violation of l\/lichigan Compiled Laws, Section 750.316(1).

3. On or about October 21, 2009, in the Eastern District of l\/lichigan,
enterprise member COREY BA|LEY, aided and abetted by others
known and unknown to the grand jury, did commit an act involving
murder, that is, assaulting R.C.-2 with intent to commit murder, all in
violation of l\/lichigan Compiled Laws,' Sections 750.83 and 767.39.

4. On or about July 14, 2014, in the Eastern District of l\/lichigan,
enterprise members B|LLY ARNOLD and COREY BA|LEY, aided and
abetted by each other and by others known and unknown to the grand
jury, did commit an act involving murder, that is, murdering D.P.,
perpetrated by means of lying in wait, or any other willful, deliberate,
and premeditated killing, all in violation of l\/lichigan Compiled Laws,
Sections 750.31.6(1) and 767.39.

5. On or about July 14, 2014, in the Eastern District of l\/lichigan,
enterprise members B|LLY ARNOLD and COREY BA|LE_Y, aided and
abetted by each other and by others known and unknown to the grand
jury, did commit an act involving murder, that is, assaulting l\/l.D.-1,
l\/l.D.-2, and C.C. with intent‘to commit murder, all in violation of

l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

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6. On or about l\/lay 1, 2015, in the Eastern District of l\/lichigan,
enterprise member B|LLY ARNOLD and KEITHON PORTER, aided
and abetted by others known and unknown to the grand jury, did
commit an act involving murder, that is, assaulting R.C.-3 with intent to
commit murder, all ~in violation of l\/lichigan Compiled Laws, Sections
750.83 and 767.39.

7. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
enterprise member B|LLY ARNOLD, KE|THON PORTER, and
ARLAND|S SHY, aided and abetted by others known and unknown to
the grand jury, did commit an act involving murder, that is, murdering
D.R.-1, perpetrated by means of lying in wait, or any other willful,
deliberate, and premeditated killing, all in violation of l\/lichi'gan
Compiled Laws, Sections 750.316(1) and 767.39.

8. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
enterprise member B|LLY ARNOLD, KE|THON PORTER, and
ARLAND|S SHY, aided and abetted by others known and unknown to
the grand jury, did commit an act involving murder, that'is, assaulting
l\/l.W., D.R.-2, and J.R. with intent to commit murder, all in violation of

l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

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9. On or about l\/lay 10, 2015, in the Eastern District of l\/lichigan,
enterprise member B|LLY ARNOLD, ROBERT BROWN, and
EUGENE FlSHER, aided and abetted by each other and by others
known and unknown to the grand jury, did commit an act involving
murder, that is, assaulting D.P., D.C., and J.G. with intent to commit
murder, all in violation of l\/lichigan Compiled Laws, Sections 750.83
and 767.39.

10. On or about June 7, 2015, in the Eastern District of l\/lichigan,
enterprise members B|LLY ARNOLD and JAl\/lES ROB|NSON, aided
and abetted by others known and unknown to the grand jury, did
commit an act involving murder, that is, assaulting D.C. with intent to
commit murder, all in violation of l\/lichigan Compiled Laws, Sections
750.83 and 767.39.

11. Between or about July 14, 2014 through about September 26,
2015, in the Eastern District of l\/lichigan, enterprise members B|LLY
ARNOLD, STEVEN ARTHUR JR., EUGENE FlSHER, COREY
BA|LEY, QU|NCY GRAHAl\/l, ROBERT BROWN, JEROl\/lE GOOCH,
l\/IICHAEL ROGERS, DERR|CK KENNEDY, DEVON PATTERSON,
JEFFERY ADAl\/lS, ARLAND|S SHY' ll, ANTHONY LOVEJOY,

DlONDRE FlTZPATR|CK, JAl\/|ES ROB|NSON, DONELL HENDR|X,

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and KE|THON PORTER did commit an act involving murder, that is,
conspiring to assault rival gang members with intent to commit murder,
all in violation of l\/lichigan Compiled Laws, Sections 750.83 and
750.157a.

A|| in violation Of 18 U.S.C. § 1962(d).
COUNT TWO

18 U.S.C. §§ 1959(a)(1) - Murder in Aid of Racketeering

D-6 ROBERT BROWN

1. At all times relevant to this Sixth Superseding lndictment, there
existed an_enterprise, the Sl\/lB as more fully described in Paragraphs One
through Nine of Count One of this Sixth Superseding lndictment, which are
re-alleged and incorporated by reference as though set forth fully herein.
The Sl\/lB, including its leadership, members and associates constituted an
enterprise as defined in Title 18, United States Code, Section 1959(b)(2),
that is, a group of individuals associated in fact that was engaged in, and the
activities of which affected, interstate and foreign commerce. The enterprise
constituted an ongoing organization whose members functioned as a
continuing unit for a common purpose of achieving the objectives of the

enterprise.

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2. At all times relevant to this Sixth Superseding lndictment, the
above-described enterprise, the Sl\/lB, through its members and associates,
engaged in racketeering activity as defined by Sections 1959(b)(1) and
1961(1) of Title 18, United States Code, namely acts involving murder and
robbery in violation of l\/lichigan State Law, offenses involving dealing in
controlled substances indictable under 21 U.S.C. §§ 841 and 846, and acts
indictable under 18 U.S».C. § 1512 (witness intimidation).

3. On or about June 7, 2006, in the Eastern District of l\/lichigan,
Southern Division, ROBERT BROWN did, for the purpose of maintaining and
increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully murder C.l\/l.; in violation of l\/lichigan
Compiled Laws, Sections 750.316(1).

d All in violation of Title 18, United States Code, Section 1959(a)(1).
COUNT THREE

18 U.S.C. §§ 924(c); 924(j) - Use of Firearm in Furtherance of a Crime of
\/io/ence Causing Death

D-6 ROBERT BROWN

1. Paragraphs One - Nine of Count One are re-alleged herein as if
fully incorporated in this Count.

2. On or about June 7, 2006, in the Eastern District of l\/lichigan,

Southern Division, ROBERT BROWN did knowingly, intentionally, and

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unlawfully carry and use a firearm, and caused the death of a person, to wit:
the murder of C.l\/l., during and in relation to a crime of violence for which
they may be prosecuted in a court of the United States, that is, murder in aid
of racketeering; in violation of Title 18, United States Code, Sections 924(c)
and 924(j).
COUNT FOUR
18 U.S.C. §§ 1959(a)(1); 2 - Murder in Aid of Racketeering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully murder D.P.; in violation of l\/lichigan
Compiled Laws, Sections 750.316(1) and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(1) and

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COUNT FlVE'

18 U.S.C. §§ 924(c); 924(j); 2 - Use of Firearm in Furtherance of a Crime
of \/io/ence Causing Death

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Nine of Count One are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did knowingly, intentionally, and
unlawfully carry and use a firearm, and caused the death of a person, to wit:
the murder of D.P., during and in relation to a crime of violence for which
they may be prosecuted in a court of the United States, that is, murder in aid
of racketeering; in violation of Title 18, United States Code, Sections 924(c);
924(j); and 2.

W
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Rackete'ering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Two`of Count Two are re-alleged herein as if

fully incorporated in this Count.

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2. Gn or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully attempt to murder l\/l.D.-1; in violation of
l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT SEVEN
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known f
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining

and increasing position in the Sl\/lB, an enterprise engaged in racketeering

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activity, knowingly and unlawfully attempt to murder l\/l.D.-2; in violation of
l\/lichigan Compiled Laws, Section 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT ElGHT
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in_the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully attempt to murder C.C.; in violation of
l\/lichigan Compiled Laws, Section 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

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COUNT NlNE

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully assault l\/l.D.-1 with a dangerous weapon;
in violation of l\/lichigan Compiled Laws, Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

W

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

o-1 B|LLY ARNOLD
o-4 coREY BA|LEY

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1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully assault l\/l.D.-2 with a dangerous weapon;
in violation of l\/lichigan Compiled Laws, Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT ELEVEN

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

1. Paragraphs Gne - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about July 14, 2014, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, COREY BA|LEY, and others, known

and unknown to the grand jury, aided and abetted by each other and others

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known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully assault C.C. with a dangerous weapon; in
violation of l\/lichigan Compiled Laws, Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT TWELVE

18 U.S.C. §§ 924(c); 2 - Use and Carry of a Firearm During, and in
Re/ation to, a Crime of Violence

D-1 B|LLY ARNOLD
D-4 COREY BA|LEY

On or about July 14, 2014, in the Eastern District of l\/lichigan, Southern
Division, and elsewhere, B|LL`Y ARNOLD, COREY BA|LEY, and others,
known and unknown to the grand jury, aided and abetted by each other and
others known and unknown to the grand jury, did knowingly, intentionally,
and unlawfully carry and use a firearm during and in relation to a crime of
violence for which they may be prosecuted in a court of the United States,
that is, attempted murder and assault with a dangerous weapon in aid of
racketeering, as alleged in Counts Six - Eleven, and said firearm was
discharged, in violation of Title 18, United States Code, Sections 924(c) and

2.’

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COUNT THlRTEEN
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering
D-1 B|LLY ARNOLD
D-19 KE|THON PORT_ER

1. Paragraphs One - Two of Count Two are re-alleged_ herein as if
fully incorporated in this Count.

2. On or about l\/lay 1, 201_5, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, KE|THON PORTER, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully attempt to murder R.C.; in violation of
l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT FOURTEEN

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

B|LLY ARNOLD

D-1
D-19 KE|THON PORTER

42

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1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 1, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, KElTHON PORTER, and others, known
and unknown to the grand jury, aided and abetted by each other and others
known and unknown to the grand jury, did, for the purpose of maintaining
and increasing position in the Sl\/lB, an enterprise engaged in racketeering
activity, knowingly and unlawfully assault R.C. with a dangerous weapon; in
violation of l\/lichigan Compiled Laws, Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT FlFTEEN

18 U.S.C. §§ 924(c); 2 - Use and Car/y of a Firearm During, and in
Relation to, a Crime of \/io/ence

D-1 B|LLY ARNOLD
D-19 KE|THON PORTER

On or about l\/lay 1, 2015, in the Eastern District of l\/lichigan, Southern
Division, and elsewhere, B|LLY ARNOLD, KElTHON PORTER, and others,
known and unknown to the grand jury, aided and abetted by each other, did
knowingly, intentionally, and unlawfully carry and use a firearm during and in

relation to a crime of violence for which they may be prosecuted in a court of

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the United States, that is, attempted murder and assault with a dangerous
weapon in aid of racketeering, as alleged in Counts Thirteen and Fourteen,
and said firearm was discharged, in violation of Title 18, United States Code,
Sections 924(c) and 2.
COUNT SlXTEEN
18 U.S.C. §§ 1959(a)(1); 2 - Murder in Aid of Racketeering

1 B|LLY ARNOLD

13 ARLAND|S SHY

f

8 l\/|ATLEAH SCOTT
9 KE|THON PORTER

D_
D_
D_
D_

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KE|THON PORTER,
and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully murder D._R.-1;' in

violation of l\/lichigan Compiled Laws, Sections 750.316(1) and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(1) and

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COUNT SEVENTEEN

18 U.S.C. §§ 924(c); 924(j); 2 - Use of Firearm in Furtherance of a Crime
of \/iolence Causing Death

B|LLY ARNOLD
3 ARLAND|S SHY
8 |\/|ATLEAH SCOTT

D_
D_
D_
D- 9 KE|THON PORTER

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KE|THON PORTER,.
and l\/lATLEAH SCOTT, aided and abetted by each other, did knowingly,
intentionally, and unlawfully carry and use a firearm, and caused the death
of a person, to wit: the murder of D.R.-1, during and in relation to a crime of
violence for which they may be prosecuted in a court of the United States,
that is, murder in aid of racketeering; in violation of Title 18, United States

Code, Sections 924(c); 924(j); and 2.

COUNT ElGHTEEN
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering
D-1 B|LLY ARNOLD
_ D-13 ARLAND|S SHY
D-18 l\/lATLEAH SCOTT
D-19 KE|THON PORTER

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1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KE|THON PORTER,
and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully attempt to murder
l\/l.W.; in violation of l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT NlNETEEN
18 U.S.C. §§ 1959(a)(5)j 2 - Attempted Murder in Aid of Racketeering

D-1 B|LLY ARNOLD
D-13 ARLAND|S SHY
D-18 l\/lATLEAH SCOTT
D-19 KE|THON PORTER

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KE|THON PORTER,

and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the

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purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully attempt to murder
D.R.-2; in violation of l\/lichigan Compiled Laws, Sections 750.83 and 750.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT TWENTY
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering
B|LLY ARNOLD
3 ARLAND|S SHY

1

1

18 |\/|ATLEAH SCOTT
19 KE|THON PORTER

D_
D_
D_
D_

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division,BlLLY ARNOLD, ARLAND|S SHY, KE|TON PORTHER,
and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully attempt to murder

J.R.; in violation of l\/lichigan Compiled Laws, Sections 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

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COUNT TWENTY-ONE

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Wea,oon in Aid of
Racketeering

1 B|LLY ARNoLD
13 ARLANDis sHY
1
1

8 l\/lATLEAH SCOTT
9 KE|THON PORTER

D_
D_
D_
D_

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLANDlS SHY, KE|THON PORTER,
and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully assault l\/l.W. with
a dangerous weapon; in violation of l\/lichigan Compiled Laws, Sections

750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT TWENTY-TWO

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

B|LLY ARNOLD

D-1
D-13 ARLAND|S SHY
D-18 l\/|ATLEAH SCOTT

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D-19 KE|THON PORTER

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KElTHON PORTER,
and l\/lATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully assault D.R.-2
with a dangerous weapon; in violation of l\/lichigan Compiled Laws, Sections
750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT TWENTY-THREE

18 U.S.C. `§§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

D-1 B|LLY ARNOLD
D-13 ARLAND|S SHY_
D-18 l\/lATLEAH SCOTT
D-19 KElTHON PORTER
1. Paragraphs One - Two of Count Two are re-alleged herein as if

fully incorporated in this Count.

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2. On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, ARLAND|S SHY, KE|THON PORTER,
and lVlATLEAH SCOTT, aided and abetted by each other, did, for the
purpose of maintaining and increasing position in the Sl\/lB, an enterprise
engaged in racketeering activity, knowingly and unlawfully assault J.R. with
a dangerous weapon; in violation of l\/lichigan Compiled Laws, Sections
750.82 and 767.39.

All in violation of Title 18, United States Code, Sections'1959(a)(3) and

COUNT TWENTY-FOUR

18 U.S.C. §§ 924(c); 2 - Use and Car/y of a Firearm During, and in
Re/ation to, a Crime of Vio/ence

D-1 B|LLY ARNOLD
D-13 ARLAND|S SHY
D-18 l\/lATLEAH SCOTT
D-19 KE|THON PORTER

On or about l\/lay 8, 2015, in the Eastern District of l\/lichigan, Southern
Division, and elsewhere, B|LLY ARNOLD, ARLAND|S SHY, KE|TON
PORTER, and MATLEAH SCOTT, aided and abetted by each other, did
knowingly, intentionally, and unlawfully carr-y and use a firearm during and in

relation to a crime of violence for which'they may be prosecuted in a court of

the United States, that is, attempted murder and assault with a dangerous

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weapon in aid of racketeering, as alleged in Counts Eighteen - Twenty-
Three, and said firearm was discharged, in violation of Title 18, United States
Code, Sections 924(c) and 2.
COUNT TWEN'fY-FlVE

18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering
D-1 B|LLY ARNOLD
D-3 EUGENE FlSHER
D-6 ROBERT BROWN

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 10, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, EUGENE FlSHER, and ROBERT
BROWN, aided and abetted by each other and others known and unknown
'to the grand jury, did, for the purpose of maintaining and increasing position
in the Sl\/lB, an enterprise engaged in racketeering activity, knowingly and
unlawfully attempt'to murder D.P., D.C., and J.G.; in violation of l\/lichigan
Compiled Laws, Sections 750.83 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT TWENTY-SlX

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

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D-1 B|LLY ARNOLD
D-3 EUGENE FlSHER
D-6 ROBERT BROWN

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about l\/lay 10, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, EUGENE FlSHER, and ROBERT
BROWN, aided and abetted by each other and others known and unknown
to the grand jury, did, for the purpose of maintaining and increasing position
in the Sl\/lB, an enterprise engaged in racketeering activity, knowingly and
unlawfully assault D.P., D.C., and J.G. with a dangerous weapon; in violation

of l\/lichigan Compiled Laws, Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT TWENTY-SEVEN

18 U.S.C. §§ 924(c); 2 - Use and Car/y of a Firearm During, and in
Re/ation to, a Crime of Vio/ence

D-1 B|LLY ARNOLD
D-3 EUGENE FlSHER
D-6 ROBERT BROWN
On or about l\/lay 10, 2015, in the Eastern District of l\/lichigan, Southern

Division, and elsewhere, B|LLY ARNOLD, EUGENE F|SHER, and ROBERT

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BROWN, aided and abetted by each other and others known and unknown
to the grand jury, did knowingly, intentionally, and unlawfully carry and use a
firearm during and in relation to a crime of violence for which they may be
prosecuted in a court of the United States, that is, attempted murder and
assault with a dangerous weapon in aid of racketeering, as alleged in Counts
Twenty-Five - Twenty-Six, and said firearm was discharged, in violation of
Title 18, United States Code, Sections 924(c) and 2. n
COUNT TWENTY-ElGHT
18 U.S.C. §§ 1959(a)(5); 2 - Attempted Murder in Aid of Racketeering

B|LLY ARNOLD
6 JAl\/lES ROB|NSON

D-1
D-1

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. ` On or about June 7, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD and JAl\/lES ROB|NSON, aided and
abetted by each other and others known and unknown to the grand jury, did,
for the purpose of maintaining and increasing position in the Sl\/lB, an
enterprise engaged in racketeering activity, knowingly and unlawfully attempt

to murder D.C.; in violation of l\/lichigan Compiled Laws, Sections 750.83 and

767.39.

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All in violation of Title 18, United States Code, Sections 1959(a)(5) and

COUNT TWENTY-NlNE

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

1 B|LLY ARNOLD
16 JAl\/lES ROB|NSON

D_
D_

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about June 7, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD and JAl\/IES ROB|NSON, aided and
abetted by each other and others known and unknown to the grand jury, did,
for the purpose of maintaining and increasing position in the Sl\/lB, an
enterprise engaged in racketeering activity, knowingly and unlawfully assault
D.C. with a dangerous weapon; in violation of l\/lichigan Compiled Laws,
Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

COUNT THIRTY

18 U.S.C. §§ 1959(a)(3); 2 - Assault with a Dangerous Weapon in Aid of
Racketeering

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D-1 B|LLY ARNOLD
D-16 JAl\/IES ROB|NSON

1. Paragraphs One - Two of Count Two are re-alleged herein as if
fully incorporated in this Count.

2. On or about June 7, 2015, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD and JAl\/lES ROB|NSON, aided and
abetted by each other and others known and unknown to the grand jury, did,
for the purpose of maintaining and increasing position in the Sl\/lB, an
enterprise engaged in racketeering activity, knowingly and unlawfully assault
A.B. with a dangerous weapon; in violation of l\/lichigan Compiled Laws,
Sections 750.82 and 767.39.

All in violation of Title 18, United States Code, Sections 1959(a)(3) and

'COUNT THlRTY-ONE

18 U.S.C. §§ 924(c); 2 - Use and Carry of a Firearm During, and in
Re/ation to, a Crime of Violence

D-1 B|LLY ARNOLD
D-16 JAl\/|ES ROB|NSON

On or about June 7, 2015, in the Eastern District of l\/lichigan, Southern
Division, and elsewhere, B|LLY ARNOLD and JAl\/lES ROB|NSON, aided

and abetted by each other and others known and unknown to the grand jury,

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did knowingly, intentionally, and unlawfully carry and use a firearm during
and in relation to a crime of violence for which they may be prosecuted in a
court of the United States, that is, attempted murder and assault with a
dangerous weapon in aid of racketeering, as alleged in Counts Twenty-Eight
- Thirty, and said firearm was discharged, in violation of Title 18, United
States Code, Sections 924(c) and 2.

COUNT THlRTY-TWO

18 U.S.C. §§ 924(c); 2 - Possession of a Firearm in Furtherance of a Crime
of \/iolence

D-1 B|LLY ARNOLD

D-2 STEVEN ARTHUR JR.
D-3 EUGENE F|SHER

D-4 COREY BA|LEY

D-5 QU|NCY GRAHA|V|

D-6 ROBERT BROWN

D-7 JEROl\/IE GOOCH

D-8 l\/||CHAEL ROGERS

D-9 DERR|CK KENNEDY
D-10 DEVON PATTERSON
D-11 CHR|STOPHER OWENS
D-12 JEFFERY ADA|V|S

D-13 ARLAND|S SHY ||

D-14 ANTHONY LOVEJOY
D-15 DlONDRE FlTZPATR|CK
D-16 JAl\/IES ROB|NSON
D-17 DONELL HENDRlX
D-19 KE|THON PORTER
D-20 JEFFAUN ADAl\/IS

D-21 l\/|ARTEZ HlCKS

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From in or about 2003, exact date being approximate, and continuing
to on or about thel date of this lndictment, in the Eastern District of l\/lichigan,
Southern Division, B|LLY ARNOLD, STEVEN ARTHUR JR., EUGENE
FlSHER, COREY BA|LEY, QU|NCY GRAHAl\/l, ROBERT BROWN,
JEROl\/lE GOOCH, l\/llCHAEL ROGERS, DERR|CK KENNEDY, DEVON
PATTERSON, CHR|STOPHER OWENS, JEFFERY ADAl\/lS, ARLAND|S
SHY ll, ANTHONY LOVEJOY, DlONDRE FlTZPATR|CK, JAl\/lES
ROB|NSON, DONELL HENDR|X, KE|THON PORTER, JEFFAUN ADAl\/lS,
and l\/lARTEZ HlCKS did aid and abet each other and others known and
unknown to the Grand Jury, and did knowingly, intentionally, and unlawfully
possessed firearms in furtherance of a crime of violence for which they
may be prosecuted in a court of the United States, that is, racketeering
conspiracy as alleged in Count One; in violation of Title 18, United States
Code, Sections 924(c)-and 2.

COUNT THlRTY-THREE
18 U.S.C. § 922(g)(1) - Fe/on in Possession of a Firearm
D-1 B|LLY ARNOLD l
D-2 STEVE ARTHUR JR.
D-3 EUGENE FlSHER

On or about September 26, 2015, in the Eastern District of l\/lichigan,

Southern Division, B|LLY ARNOLD, STEVE ARTHUR JR., and EUGENE

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FlSHER, after having previously been convicted of at least one crime
punishable by imprisonment for a term exceeding one year (felony offense),
did knowingly and unlawfully possess a firearm: to wit, a Bushmaster .223
caliber rifle, l\/lodel l\/l15-E2S, serial number BF|468505, said firearm having
previously traveled in interstate and/or foreign commerce, in violation of Title
18, United States Code, Section 922(g)(1).
COUNT THlRTY-FOUR
18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm or Ammunition
D-3 EUGENE FlSHER
On or about November 12, 2015, in the Eastern District of l\/lichigan,
Southern Division, EUGENE FlSHER, after having been previously
convicted of at least one crime punishable by imprisonment for a term
exceeding one year (felony offense), did knowingly and unlawfully possess
a firearm and assorted ammunition: to wit, a Ruger semiautomatic .45
caliber handgun, serial number 660-65661, said firearm having previously
traveled in the interstate and / or foreign»commerce, in violation of Title 18,
United States Code, Section 922(g)(1).
COUNT THlRTY-F|VE
18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm or Ammunition

D-16 JAl\/lES ROB|NSON

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On or about July 13, 2016, in the Eastern District of l\/lichigan, Southern
Division, JAl\/lES ROB|NSON, after having been previously convicted of at
least one crime punishable`by imprisonment for a term exceeding one year
(felony offense), did knowingly and unlawfully possess a firearm and
assorted ammunition: to wit, a Davis industries l\/lodel P-380, obliterated
serial number, Winchester l\/lodel 37, 12 gauge shotgun, no serial number,
Ruger Blackhawk, .357 Magnum caliber revolver, serial number 35-65080,
and various ammunition, said firearms having previously traveled in the
interstate and / or foreign commerce, in violation of Title 18, United States
Code, Section 922(g)(1).

NOT|CE OF SPEC|AL FlNDlNGS PURSUANT TO T|TLE 18, UN|TED
STATES CODE. SECT|ONS 3591 AND 3592

1. The allegations set forth in Counts 1 through 35 are repeated and

re-alleged as if set forth fully herein.

2. As to Counts 4, 5, 16, and 17, the defendant B|LLY ARNOLD:

(a) was 18 years of age or older at the time of the
offenses alleged in Counts 4, 5, 16, and 17;

(b) intentionally killed D.P. (Counts 4 and 5) and D.R.-1
(Counts 16 and 17) (18 U.S.C. § 3591(a)(2)(A));

(c) intentionally inflicted serious bodily injury that

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resulted in the death of D.P. (Counts 4 and 5) and D.R.-1
(Counts 16 and 17) (18 U.S.C. § 3591(a)(2)(B));

(d) intentionally participated in an act, contemplating that
the life of a person would be taken or intending that lethal
force would be used in connection with a person, otherthan
one of the participants in the offense, and D.P. (Counts 4
and 5) and D.R.-1 (Counts 16 and 17) died as a direct
result of these acts (18 U.S.C. § 3591 (a)(2)(C));

(e) intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in the
offense, such that the participation in the act constituted a
reckless disregard for human life and D.P. (count's 4 and 5)
and D.R.-1 (Counts 16 and 17) died as a direct result of the
act (18 U.S.C. § 3591 (a)(2)(D));

(f) committed the offenses alleged in Counts 4, 5, 16,
and 17 after having been previously convicted of a Federal
or State offense punishable by a term of imprisonment of

more than 1 year, involving the use or attempted or

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threatened use of a firearm (as defined in section 921)
against another person (18 U.S.C. § 3592(c)(2));
(g) in committing the offenses in Counts 4, 5, 16, and 17,
knowingly created a grave risk of death to 1 or more
persons in addition to D.P. (counts 4 and 5) and D.R.-1
(Counts 16 and 17); l
(h) committed the offensesalleged in Counts 16 and 17
after substantial planning and premeditation to cause the
death of a person (18 U.S.C. § 3592(0)(9)); and
(i) in committing the offenses in Counts 4, 5, 16, and 17,
intentionally killed and attempted to kill more than one
person in a single criminal episode (18 U.S.C. §
3592(c)(16)).

3. As to Counts 4 and 5, the defendant COREY BA|LEY:

(a) was 18 years of age or older at the time of the
offenses alleged in Counts 4 and 5;

(b) intentionally killed D.P. (18 U.S.C. § 3591(a)(2)(A));
(c) intentionally inflicted serious bodily injury that
resulted in the death of D.P. (18 U.S.C. § 3591(a)(2)(B));

(d) intentionally participated in an act, contemplating that

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the life of a person would be taken or intending that lethal
force would be used in connection with a person, other than
one of the participants in the offense, and D.P. died as a
direct result of these acts (18 U.S.C. § 3591 (a)(2)(C));

(e) intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in the
offense, such that the participation in the act constituted a
reckless disregard for human life and D.P. died as a direct
result of the act (18 U.S.C. § 3591 (a)(2)(D)); and
(f) in committing the offenses in Counts 4 and 5,
intentionally killed and attempted to kill more than one
person in a single criminal episode (18 U.S.C. §
3592(c)(16)).

4. As to Counts 2 and 3, the defendant ROBERT BROWN ll:

(a) was 18 years of age or older at the time of the
offenses alleged in Counts 2 and 3;
(b) intentionally killed C.l\/l. (18 U.S.C. § 3591(a)(2)(A));

(c) intentionally inflicted serious bodily injury that

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resulted in the death of C.l\/l. (18 U.S.C. § 3591(a)(2)(B));
(d) intentionally participated in an act, contemplating that
the life of a person would be taken or intending that lethal
force would be used in connection with a person, otherthan
one of the participants in the offense, and C.l\/l. died as a
direct result of these acts (18 U.S.C. § 3591 (a)(2)(C));

(e) intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in the
offense, such that the participation in the act constituted a
reckless disregard for human life and C.l\/l. died as a direct
result of the act (18 U.S.C. § 3591 (a)(2)(D)); and

(f) in committing the offenses in Counts 2 and 3,
intentionally killed and attempted to kill more than one
person in a single criminal episode (18 U.S.C. §
3592(c)(16)).

5. As to Counts 16 and 17, the defendant`ARLANDlS SHY:

(a) was 18 years of age or older at the time of the

offenses alleged in Counts 16 and 17;

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(b) intentionally killed D.R.-1 (18 U.S.C. §
3591(a)(2)(A));

(c) intentionally inflicted serious bodily injury that
resulted in the death of D.R.-1 _(18 U.S.C. § 3591(a)(2)(B));
(d) intentionally participated in an act, contemplating that
the life of a person would be taken or intending that lethal
force would be used in connection with a person, otherthan
one of the participants in the offense, and D.R.-1 died as a
direct result of these acts (18 U.S.C. § 3591(a)(2)(C));

(e) intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in.the
offense, such that the participation in the act constituted a
reckless disregard for human life and D.R.-1 died as a
direct result of the act (18 U.S.C. § 3591 (a)(2)(D));

(f) committed the offenses alleged in Counts 16 and 17
after substantial planning and premeditation to cause the
death of a person (18 U.S.C. § 3592(c)(9));

(g) in committing the offenses in Counts 16 and`17,

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intentionally killed and attempted to kill more than one
person in a single criminal episode (18 U.S.C. §
3592(c)(16)).

6. As to Counts'16 and 17, the defendant KE|THON PORTER:

(a) was 18_ years of age or older at the time of the
offenses alleged in Counts 16 and 17;

(b) intentionally killed ' D.R.-1 (18 U.S.C. §
3591(a)(2)(A));

(c) intentionally inflicted serious bodily injury that
resulted in the death of D.R.-1 (18 U.S.C. § 3591(a)(2)(B));
(d) intentionally participated in an act, contemplating that
the life of a person would be taken or intending that lethal
force would be used in connection with a person, otherthan
one of the participants in the offense, and D.R.-1 died as a
direct result of these acts (18 U.S.C. § 3591 (a)(2)(C));

(e) intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in the

offense, such that the participation in the act constituted a

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reckless disregard for human life and D.R.-1 died as a -
direct result of the act (18 U.S.C. § 3591 (a)(2)(D));

(f) committed the offenses alleged in Counts 16 and 17

after having been previously convicted of two or more State

or Federal offenses punishable by a term of imprisonment

of more than 1 year, committed on different occasions,

involving the distribution of a controlled substance; (18

U.S.C. § 3592(c)(2));

(g) committed the offenses alleged in Counts 16 and 17

after substantial planning and premeditation to cause the

death of a person (18 U.S.C. § 3592(c)(9)); and

(h) in committing the offenses in Counts 16 and 17,

intentionally killed and attempted to kill more than one

person in a single criminal episode (18 U.S.C. §

`3592(0)(18)). l

FORFE|TURE ALLEGAT|ONS
RlCO FORFE|TURE

The allegations contained in Count One of this Sixth Superseding
lndictmentare hereby repeated, re-alleged, and incorporated by reference
herein as though fully set forth at length for the purpose of alleging forfeiture

pursuant to the provisions of Title 18, United States Code, Section 1963.

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Pursuant to Federal Rule of Criminal Procedure Rule 32.2, notice is hereby
given to the defendants that the United States will seek forfeiture as part of
any sentence in accordance with Title 18, United States Code, Section
1963 in the event of any defendant’s conviction under Counts One and
Two of this lndictment. t
As a result of committing the offense charged in Count One of this
lndictment, the defendants, B|LLY ARNOLD, STEVEN ARTHUR JR.,
EUGENE FlSHER, COREY BA|LEY, QU|NCY GRAHAl\/l, ROBERT
BROWN, JEROl\/lE GOOCH, l\/llCHAEL ROGERS, DERR|CK KENNEDY,
DEVON PATTERSON, CHR|STOPHER OWENS, JEFFERY ADAl\/lS,
,ARLAND|S SHY ll, ANTHONY LOVEJOY, DlONDRE FlTZPATR|CK,
JAl\/lES ROB|NSON, DONELL HENDR|X, JEFFUAN ADAl\/lS, and l\/lARTEZ
HlCKS:
1. Have acquired and maintained interests in violation of
Title 18, United States Code, Section 1962, which interests are
subject to forfeiture to the United States pursuant to Title 18,
United States Code, Section 1963(a)(1); and
2. Have property constituting and derived from proceeds
obtained, directly and indirectly, from racketeering activity, in

violation of Title 18, United States Code, Section 1962, which

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property is subject to forfeiture to the United States pursuant to

Title 18, United States Code, Section 1963(a)(3).

The interests of the defendants subject to forfeiture to the United
States pursuant to Title 18, United States Code, Section 1963(a)(1) and
(a)(3), include but are not limited to, a sum that represents the gross
proceeds received by the defendants pursuant to their racketeering
activities as charged in Count One of the indictment during the relevant time
period charged in the indictment and all interests and proceeds traceable
thereto. n

if any of the above-described forfeitable property, as a result of any

act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third

person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot

be subdivided without difficulty;

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it is the intent of the United States, pursuant to Title 18, United States Code,
Section 1963(m), to seek forfeiture of any other property of said defendants

up to the value of the above forfeitable property.

The above-named defendants, and each of them, are jointly and
severally liable for the forfeiture obligations as alleged above.

All pursuant to Title 18, United States Code, Section 1963.

THlS lS A TRUE BlLL
Dated: January 3, 2018 /s/ Grand Jurv Foreperson
GRAND JURY FOREPERSON

DAN|EL L. LE|\/||SCH
ACTING UN|TED STATES ATTORNEY

 

 

/s/ Christopher Graveiine ' /s/ Justin Wechsler
CHRiSTOPHER GRAVEL|NE _ JUST|N WECHSLER
Chief, Violent & Organized Crime Unit Trial Attorney

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/s/ Juiie Finocchiaro

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Trial Attorney

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United States District Court Criminal Case C°Ver Sheet Case Number
Eastern District of Michigan

15-cr-20652

NOTE: lt is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects

 

 

 

 

 

 

Companion Case lnformation j C°ml°a“i°" Case Number=
This may be a companion case based upon LCrR 57.10 (b)(4)‘: Judge Assigned:
|:i Yes No AusA's initials[`( /

 

 

 

Case Titlei USA V- Bi||y Arnold, et. al.

County where offense occurred : Wayne

Check One; -Felony i:iMisdemeanor , i:iPetty
lndictment/ information --- no prior complaint
|ndictment/ information -~- based upon prior complaint [Case number: b 1
v/ lndictment/ information --- based UpOr\ LCrR 57.10 (d) [Complete Superseding section below].

Su ers"e.d,iln""”C;\a§s:ie<»l¥ifermation

   

Superseding to Case No: 15-Cr~20652 Judge: Georqe C. Steeh

|:|Corrects errors; no additional charges or defendants.
|'_'] lnvolves, for plea purposes, different charges or adds counts b
Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Comp|alnt (if applicable)

18 u.s.c. §§ 3591 and
3592

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

    

January 3, 2018

Date CHR TOPHER GRAVEL|NE

Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, l\/ll 48226-3277

Phone:313-226-9155

Fa)(j 313'226-5464

E-Mai| address Christopher.GravelineZ@usdoj.gov
Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same

or related parties are present, and the cases arise out of the same transaction or occurrence Cases may be companion cases
even though one of them may have already been terminated

5/16

